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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


                                                   )
 MERIT MEDICAL SYSTEMS, INC.,                      )
 1600 West Merit Parkway                           )
 South Jordan, UT 84095,                           )
                         Plaintiff,                )
                                                   )
                  v.                               )
                                                   )
 WILLIAM P. BARR, in his official capacity as      ) Case No. ___________
 Attorney General of the United States,            )
 United States Department of Justice               )
 950 Pennsylvania Avenue NW                        )
 Washington, D.C. 20530,                           )
                                                   )
 THE UNITED STATES                                 )
 DEPARTMENT OF JUSTICE,                            )
 950 Pennsylvania Avenue NW                        )
 Washington, D.C. 20530,                           )
                                                   )
 and,                                              )
                                                   )
 THE UNITED STATES DISTRICT                        )
 COURT FOR THE                                     )
 DISTRICT OF NEW JERSEY,                           )
 50 Walnut Street                                  )
 Newark, New Jersey 07102,                         )
                         Defendants.               )
                                                   )
                                                   )

        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

         Plaintiff Merit Medical Systems, Inc. (“Merit”) makes this Complaint for

declaratory and injunctive relief against Defendants the Attorney General of the United



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States in his official capacity, the United States Department of Justice, and the United

States District Court for the District of New Jersey, stating as follows:

                                  INTRODUCTION
      1.     The common law and First Amendment to the Constitution guarantee

open and transparent judicial proceedings. Exceptions to these rights of access are

strictly limited. One exception enables the brief sealing of a private plaintiff’s civil

action under the qui tam provision of the False Claims Act. Congress provided for this

sealing to avoid tipping off targets of criminal investigations. And Congress took care

to ensure that such sealing would be brief and justified by good cause, as required by

the common law and First Amendment guarantees of openness, by limiting the initial

seal to 60 days and requiring that any extensions sought by the government be

supported by good cause as determined by a federal court.

      2.     But government attorneys in this District regularly circumvent the

requirement to show good cause for denying the public and qui tam defendants access

to the judicial records of qui tam actions. Taking advantage of the ex parte nature of

requests to invoke this exception to the usual public nature of judicial proceedings,

government lawyers seek court orders to remove these cases from the active docket—

a practice called “administrative termination”—and to seal them indefinitely, without

any deadline or recurring judicial assessment of good cause. Judges have gone along

with this practice, agreeing to “administratively terminate” and seal these civil actions

indefinitely. The result is an unlawful shroud of secrecy cast over scores of civil actions

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that have languished on hidden dockets—in some cases for years—without

justification. One case was sealed for 15 years—including more than seven months

while the plaintiff was deceased.

       3.     This practice eviscerates the hallmark transparency of our judicial process,

violating the public’s right of access to judicial proceedings and documents under the

First Amendment and longstanding common law. And this illegal practice denies qui

tam defendants the right to timely defend themselves with the tools provided by

Congress and the Supreme Court. Consistent with Justice Louis Brandeis’s observation

that “sunlight is the most powerful of all disinfectants,” N.Y. Times Co. v. Sullivan, 376

U.S. 254, 350 (1964) (Goldberg, J., concurring) (internal quotation marks omitted),

Merit seeks declaratory and injunctive relief to reveal the extent of and to end this illegal

practice.




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                                    THE PARTIES
       4.     Founded in 1987, Merit is a worldwide designer, developer, manufacturer

and marketer of medical devices used in interventional and diagnostic procedures.

Merit is a publicly traded corporation with its principal place of business at 1600 West

Merit Parkway, South Jordan, Utah, 84095.

       5.     Defendant William P. Barr is sued in his official capacity as the Attorney

General of the United States and the head of the United States Department of Justice.

As Attorney General, Mr. Barr is responsible for the conduct of Department of Justice

attorneys in the District of New Jersey, Washington, D.C., and elsewhere.

       6.     Defendant the United States Department of Justice is the federal executive

department of the United States government responsible for the enforcement of the

law and the administration of justice.

       7.     Defendant the United States District Court for the District of New Jersey

is the federal trial court located in the state of New Jersey.

                           JURISDICTION AND VENUE
       8.     This action seeks declaratory and injunctive relief under the Federal

Declaratory Judgment Act, 28 U.S.C. § 2201, and the All Writs Act, 28 U.S.C. § 1651.

       9.     This Court has subject matter jurisdiction over this action under 28 U.S.C.

§ 1331 because this action arises under the Constitution and laws of the United States.

       10.    Venue is proper in this judicial District under 28 U.S.C. § 1391(e).




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       11.    There is currently an actual, justiciable controversy between the parties

concerning whether the practice of “administratively terminating” and sealing qui tam

actions indefinitely, with no time limits or recurring judicial assessment of cause for the

seal, violates the Constitution and the common law.

       12.    The declaratory and injunctive relief requested in this Complaint will

resolve this controversy by eliminating this practice and unsealing judicial records that

have been sealed without legal justification.

       13.    Merit intends to present information revealed by this action to the Judicial

Branch, including the Judicial Conference of the United States, the Legislative Branch,

and the Executive Branch, in order to seek the adoption of rules, laws, and policies to

ensure access to judicial proceedings and records.

       14.    This Court may award costs and attorneys’ fees under 28 U.S.C. § 2412.

                                   ALLEGATIONS
       15.    The public possesses a common-law right of access to judicial proceedings

and records. Publicker Indus., Inc. v. Cohen, 733 F.2d 1059, 1070 (3d Cir. 1984), as amended

(May 29, 1984).

       16.    Both docket sheets and qui tam complaints filed under the False Claims

Act are “judicial records” within the meaning of the common law.

       17.    The First Amendment also “protects the public’s right of access to the

records of civil proceedings.” Republic of Philippines v. Westinghouse Elec. Corp., 949 F.2d

653, 659 (3d Cir. 1991).

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       18.      The First Amendment right of access likewise extends to docket sheets

and qui tam complaints filed under the False Claims Act.

       19.      The right of access under the common law and the Constitution belongs

to a constituency beyond direct participants in the litigation. For example, the Local

Rules for the United States District Court for the District of New Jersey provide that

“[a]ny interested party may move to intervene . . . to obtain public access to materials

or judicial proceedings filed under seal.” D.N.J. Local Civil Rule 5.3(c)(5).

       20.      One limited exception to these common-law traditions and constitutional

imperatives, and the rules and procedures implementing them, involves the qui tam

provision of the False Claims Act, under which a private person—known as a relator—

may bring a civil action against a defendant on behalf of the government. 31 U.S.C.

§ 3730(b)(1).

       21.      When a qui tam complaint is filed, it must be initially sealed and not served

on the defendant for 60 days. 31 U.S.C. § 3730(b)(2).

       22.      Congress enabled the government to move the court for extensions of

this sealing period only for “good cause shown.” 31 U.S.C. § 3730(b)(3).

       23.      Merit does not challenge the constitutionality of the initial 60-day sealing

period, or the proper application of the “good cause” standard by a federal court to

assess whether to grant an extension of time to seal documents under the False Claims

Act.



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      24.    Government attorneys in this District, however, have long followed a

practice of not complying with the False Claims Act’s sealing provisions and

circumventing judicial scrutiny of extensions of the seal and defeating the public’s rights

of access.

      25.    In other judicial districts, the government’s general practice—consistent

with the False Claims Act’s sealing provisions—is to file motions for extensions of the

seal in circumstances where the government believes good cause for an extension exists.

The filing of such a motion enables the court to probe the government on whether

good cause in fact exists and to press the government to move quickly so that the seal

can be lifted as soon as possible. If the court finds that good cause does not exist to

continue the seal, it denies the government’s motion and unseals the action. If the court

finds that good cause exists to continue the seal, it extends the seal for a finite period

of time, narrowly tailored to the good cause shown, after which the government must

either move to unseal the action or seek another extension for good cause shown. In

this way, the court—rather than the government—controls how long the seal remains

in place, and the court has the ability to end the sealing promptly once good cause for

continued sealing no longer exists.

      26.    In this District, the government does not adhere to this accepted practice.

Instead, the government avoids judicial scrutiny and effectively exercises unilateral

control over how long the seal remains in place by obtaining orders sealing and

“administratively terminating” qui tam actions indefinitely. Once a qui tam action has

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been administratively terminated, it disappears from the Court’s active docket. And

because it is under seal, it is invisible to the outside world.

       27.    Extending the seal for a finite period of time, narrowly tailored to the good

cause shown, and requiring the government to affirmatively seek and justify any further

extensions leaves the court in control over the length of the seal. By contrast,

administrative termination leaves the case indefinitely sealed, with no requirement that

the government return to the Court at any particular time to justify continued sealing.

Instead, the government decides on its own when it would like the case unsealed.

       28.    The government has tactical reasons to prefer qui tam actions to remain

under seal for longer than justified under the First Amendment and the common law.

Among other things, the government often seeks one-sided discovery via civil

investigative demands while the action is under seal, see 31 U.S.C. § 3733, while the qui

tam defendant lacks any ability to pursue reciprocal discovery or to challenge the

complaint. By operation of statute, once the action is unsealed, the ordinary Rules of

Civil Procedure apply, with their due process-based guarantees of evenhanded and fair

procedures.

       29.    This Court’s “administrative termination” practice thus defeats the

protections Congress enacted to ensure that any deprivation of public access would be

brief and justified by good cause, while enabling the government to benefit itself at the

expense of the defendant.



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      30.    This extraordinary and unlawful practice in this District has been ongoing

for more than 15 years. As of 2008, according to one government motion, the “usual

procedural practice in this jurisdiction [was] for the Clerk of this Court to

‘administratively terminate’ Qui Tam cases, pending the United States’ determination

to whether to intervene in the case.” United States’ Application for an Order Staying

and Administratively Terminating This Action, United States ex rel. John Doe and Jane Doe

v. AHS Hospital Corp., No. 08-2042 (D.N.J.) (ECF No. 4).

      31.    In just the last five years, no fewer than 20 qui tam actions have been

“administratively terminated” and sealed indefinitely at the request of the government.

      32.    The dockets do not reflect periodic government motions for an extension

of the seal for good cause or court orders finding good cause for such an extension, in

some cases for years.

      33.    The following are examples of cases that were “administratively

terminated” and sealed indefinitely. This information was not made public until several

years after each case was filed, in some cases more than a decade later.

         U nited States ex rel. Zappia v. Wall Street Financial Corp. et al.
                                     2:03-cv-01858
      34.    In this matter, the plaintiff filed a qui tam action against certain defendants

on April 24, 2003, in case number 2:03-cv-01858. (ECF No. 1). By law, the case was

required to be sealed when filed. The docket reflects the following entry on June 24,

2003: “ORDER for Administrative Termination.” (ECF No. 5)



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       35.    The docket shows no entries between June 2003 and November 2010.

       36.    The next sequential entry in the docket is more than seven years later, on

November 19, 2010. The plaintiff’s counsel filed a motion to substitute the named

plaintiff with another party (ECF No. 6), because the named plaintiff had passed away

more than seven months before.

       37.    The docket shows no entries between December 2010 and September

2017, a period of nearly seven years.

       38.    On September 8, 2017, the government filed a notice of election to decline

to intervene and take over the action. (ECF No. 11). The case remained sealed,

however, for another nine months.

       39.    On April 13, 2018, the case was reassigned, as the previously assigned

judge was “no longer assigned to case.” (ECF No. 12). Indeed, the judge had retired

more than a decade earlier, in 2006.

       40.    On June 1, 2018, an order was issued that the complaint and the

government’s notice of election to decline to intervene be unsealed and served upon

the defendants by the relator. The order also provided that “[t]he Clerk of the Court

shall administratively reopen the above action” and “that the seal be lifted as to all other

matters occurring in this action after the date of this Order.” (ECF No. 13).

       41.    In the fifteen years between the date of the administrative termination

(June 2003) and the date when the action was unsealed (June 2018), there are no docket



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entries reflecting any motion by the government showing good cause for an extension

of the seal or any order or finding by the Court that there was good cause to do so.

    U nited States ex rel. Doogah v. New Horizon Treatment Services, Inc .,
                                     3:15-cv-08902

      42.    In this matter, the plaintiff filed a qui tam action against the defendant on

December 29, 2015, in case number 3:15-cv-08902. (ECF No. 1). By law, the case was

required to be sealed when filed.

      43.    On March 7, 2016, the government filed a pleading captioned “United

States’ Unopposed Ex Parte Application for an Order Staying and Administratively

Terminating this action.” (ECF No. 5). On April 20, 2016, the Clerk of Court docketed

a court order providing as follows: “ORDER STAYING CASE; Case Administratively

Terminated. Complaint and all other filings shall remain under seal until further Order

of this Court.” (ECF No. 8). On the same day, April 20, 2016, the docket then shows

the following: “***Civil Case Administratively Terminated.”

      44.    The next sequential entry in the docket is almost three years later, on April

9, 2019. The docket entry states: “NOTICE of Election to Decline to Intervene and

Application for Order Restoring Matter, Dismissing Complaint, and Unsealing Certain

Documents by United States of America.” (ECF No. 9). By order dated the same day,

the complaint and the government’s notice of election were unsealed. (ECF No. 10).

      45.    Between the date of the administrative termination (April 2016) and the

date when the action was unsealed (April 2019), there are no docket entries reflecting


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any motion by the government showing good cause for an extension of the seal or any

order or finding by the Court that there is good cause to do so.

        U nited States ex rel. Lampkin v. Pioneer Education, LLC et al. ,
                                     1:16-cv-01817

      46.    By way of another example, on March 31, 2016, a plaintiff filed a qui tam

action against several defendants in case number 1:16-cv-01817. (ECF No. 1). By law,

the case was required to be sealed when filed. On May 24, 2016, the docket shows the

following entry: “***Civil Case Terminated.”

      47.    The next entry in the docket is more than three years later, on July 29,

2019, and states: “NOTICE of Election to Decline Intervention by United States of

America.” (ECF No. 4). Also on July 29, 2019, the docket reflects the following:

“UNSEALING ORDER directing the Clerk to administratively reopen this action;

ORDERED that the seal be lifted as to all other matters occurring in this action after

the date in this Order, etc.” (ECF No. 5).

      48.    Between the date of the administrative termination (May 2016) and the

date when the action was unsealed (July 2019), there are no docket entries reflecting any

motion by the government showing good cause for an extension of the seal or any order

or finding by the Court that there is good cause to do so.

      United States ex rel. Beltran v. First Health Management LLC et al. ,
                                     3:16-cv-01456

      49.    By way of another example, on March 15, 2016, a plaintiff filed a qui tam

action against several defendants in case number 3:16-cv-01456. (ECF No. 1). By law,

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the case was required to be sealed when filed. On May 13, 2016, the docket shows the

following: “Order Staying and Administratively Terminating this Action and Granting

United States Permission to Disclose Complaint.” (ECF No. 3). This order, which was

unsealed years later, states:

          IT IS . . .
          ORDERED that the United States’ Unopposed Ex Parte Application
          for an Order Staying and Administratively Terminating this Action and
          Granting United States Permission to Disclose Complaint be and
          hereby is GRANTED; and it is further
          ORDERED that without prejudice to the Relator or the United States,
          the above-captioned action be and hereby is stayed, but not dismissed,
          and that the Clerk of this Court shall administratively terminate this
          action in his records, without prejudice to the right of any party in the
          above-captioned action to administratively reopen these proceedings
          at any time, for any reason, on written notice to the Court; and it is
          further
          ORDERED that in the event this action is administratively reopened
          for any reason, the rights of the Relator and the United States in the
          above-captioned action be and are hereby fully preserved as they exist
          at the time of entry of this Order, including, but not limited to, rights
          under 31 U.S.C. § 3730(b)(5), § 3730(e), and § 3731(b); and it is further
          ORDERED that the seal on the above-captioned action is partially
          lifted so that, at its discretion, the United States may disclose the
          allegations raised by the Relator in the action, and/or provide a copy
          of the Complaint and/or any amended complaint, to relators and their
          counsel in any qui tam action that is pending, or may in the future be
          pending, in any district against any of the named Defendants in this
          action and/or related entities that has allegations that overlap or relate
          to the allegations in this qui tam; and it is further
          ORDERED that the seal on the above-captioned action is partially
          lifted so that, at its discretion, the United States may disclose the
          allegations raised by the Relator in the action, and/or provide a copy
          of the Complaint and/or any amended complaint, redacted as

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            necessary, to any of the named Defendants in this action and/or
            related entities; and it is further
            ORDERED that the seal shall remain in place on all other filings in
            this case, and on the Complaint and any amended complaint for all
            other purposes and specifically shall apply to any counsel and relators
            to which disclosure is made under this Order, until further order of
            this Court.
      50.      The next sequential entry in the docket is almost three years later, on

February 15, 2019. It states: “NOTICE of Election to Decline to Intervene and

Application for Order Restoring Matter, Dismissing Complaint and Unsealing Certain

Documents by United States of America.” (ECF No. 4). The next entry in the docket

is dated February 26, 2019. It states: “ORDER that the Clerk shall administratively

reopen the above-captioned action and restore it to the Court’s active docket . . . .”

(ECF No. 5).

      51.      Between the date of the administrative termination (May 2016) and the

date when the action was unsealed (February 2019), there are no docket entries

reflecting any motion by the government showing good cause for an extension of the

seal or any order or finding by the Court that there is good cause to do so.




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  U nited States ex rel. Gonzalez et al. v. Atlantic Adult Day Health Care et al. ,
                                      1:16-cv-03066

       52.     By way of another example, on May 26, 2016, two plaintiffs filed a qui tam

action against several defendants in case number 16-cv-03066. (ECF No. 1). By law,

the case was required to be sealed when filed.

       53.     The next entry in the docket is almost three years later, on February 26,

2019. It states:

       NOTICE OF ELECTION TO DECLINE TO INTERVENE AND
       APPLICAITON [sic] FOR ORDER RESTORING MATTER,
       DISMISSING COMPLAINT, AND UNSEALING CERTAIN
       DOCUMENTS by UNITED STATES OF AMERICA.
(ECF No. 3).
       54.     The docket shows the following entry on February 26, 2019:

       ORDER directing the Clerk to reopen this case. ORDERED that the
       Relator’s complaint shall be dismissed. ORDERED that the complaint,
       any amended complaint, the United States’ notice of election and all
       papers filed with the notice of election, and this order, shall be unsealed,
       etc.
       55.     This Order states:

       The United States having filed with the Court its notice of election to
       decline to intervene in the above-captioned action and application for an
       order restoring the matter to the Court’s active docket, dismissing the
       Complaint, and unsealing certain documents . . .[,] IT IS . . . ORDERED
       that the Clerk of the Court shall administratively reopen the above-
       captioned action and restore it to the court’s active docket . . . .
(ECF No. 5).

       56.     Between the date of the filing of the complaint (May 2016) and the date

when the action was unsealed (February 2019), there is one sealed docket entry, and no

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docket entries reflecting any motion by the government showing good cause for an

extension of the seal or any order or finding by the Court that there is good cause to

do so.

U nited States ex rel. Ronan v. Garden State Spine & Pain Institute, LLC et al. ,
                                      3:16-cv-05213

         57.   By way of another example, on August 26, 2016, a plaintiff filed a qui tam

action against several defendants in case number 3:16-cv-05213. (ECF No. 1). By law,

the case was required to be sealed when filed.

         58.   On October 25, 2016, the government filed a pleading titled “Ex Parte

Application for an Order Staying and Administratively Terminating This Action and

Granting United States Permission to Disclose Complaint by United States of

America.” (ECF No. 2). On October 28, 2016, the docket reflects the following entry:

“ORDER Staying and Administratively Terminating Case and Granting United States

permission to disclose complaint.” (ECF. No. 3). The text of this order is not publicly

available. The next docket entry shows that the relator filed an amended complaint.

(ECF No. 4).

         59.   The next sequential entry in the docket is more than two years later, on

March 4, 2019, and states: “NOTICE of Election to Decline to Intervene and

Application for Order Restoring Matter, Dismissing Complaint and Unsealing Certain

Documents by United States of America.” (ECF No. 5). A docket entry three days




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later states: “STIPULATION and ORDER Restoring the Matter to the Active Docket

and Unsealing Certain Documents . . . .” This Order states:

      The United States having filed with the Court its notice of election to
      decline to intervene in the above-captioned action and application for an
      order restoring the matter to the Court’s active docket, dismissing the
      Complaint, and unsealing certain documents . . .[,] IT IS . . . ORDERED
      that the Clerk of the Court shall administratively reopen the above-
      captioned action and restore it to the court’s active docket . . . .
(ECF. No. 6).

      60.     Between the date of the administrative termination (October 2016) and

the date when the action was unsealed (March 2019), there are no docket entries

reflecting any motion by the government showing good cause for an extension of the

seal or any order or finding by the Court that there is good cause to do so.

       U nited States ex rel. Costello et al. v. Winter Enterprises P.C. et al. ,
                                    1:16-cv-01803

      61.     By way of another example, on March 31, 2016, two plaintiffs filed a qui

tam action against multiple defendants in case number 1:16-cv-01803. (ECF No. 1). By

law, the case was required to be sealed when filed.

      62.     On June 14, 2016, the docket reflects the following entry: “ORDER

staying and administratively terminating this action and granting United States

permission to disclose complaint.” (ECF No. 2). This order states:

      IT IS . . .

      ORDERED that the United States’ Unopposed Ex Parte Application for an
      Order Staying and Administratively Terminating This Action and Granting



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      United States Permission to Disclose Complaint be and hereby is GRANTED;
      and it is further
      ORDERED that without prejudice to the Relators or the United States, the
      above-captioned action be and hereby is stayed, but not dismissed, and that the
      Clerk of this Court shall administratively terminate this action in his records,
      without prejudice to the right of any party in the above-captioned action to
      administratively reopen these proceedings at any time, for any reason, on
      written notice to the Court; and it is further
      ORDERED that in the event this action is administratively reopened for any
      reason, the rights of the Relators and the United States in the above-captioned
      action be and are hereby fully preserved as they exist at the time of entry of this
      Order, including, but not limited to, rights under 31 U.S.C. § 3730(b)(5),
      § 3730(e), and § 3731(b); and it is further
      ORDERED that the seal on the above-captioned action is partially lifted so
      that, at its discretion, the United States may disclose the allegations raised by
      the Relators in the action, and/or provide a copy of the Complaint and/or any
      amended complaint, to relators and their counsel in any qui tam action that is
      pending, or may in the future be pending, in any district against any of the
      named Defendants in this action and/or related entities that has allegations that
      overlap or relate to the allegations in this qui tam; and it is further
      ORDERED that the seal on the above-captioned action is partially lifted so
      that, at its discretion, the United States may disclose the allegations raised by
      the Relators in the action, and/or provide a copy of the Complaint and/or any
      amended complaint, redacted as necessary, to any of the named Defendants in
      this action and/or related entities; and it is further

      ORDERED that the seal shall remain in place on all other filings in this case,
      and on the Complaint and any amended complaint for all other purposes and
      specifically shall apply to any counsel and relators to which disclosure is made
      under this Order, until further ordered.
      63.    The public docket does not show entry number 3, and aside from a letter

regarding an attorney’s admission (ECF No. 4), the next sequential entry is more than

two years later, on August 8, 2018, and states: “Notice of Election to Decline to

Intervene and for an Order Restoring Matter to the Active Docket by United States of

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                    REDACTED - FILED UNDER SEAL
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                  REDACTED - FILED UNDER SEAL




                                      *      *      *

       71.    On information and belief, there are many more administratively closed

qui tam cases in this District. Administrative closure shrouds cases and their dockets in

continued secrecy; entire public dockets remain under seal, and even when eventually

unsealed years later they continue to hide entries bearing on the government’s illegal

secrecy measures. Of course, by nature of this practice, the identities and circumstances

of these cases are extremely difficult to bring to light.

                                          COUNT I
                  Defendants’ Violations of the First Amendment

       72.    Merit incorporates and realleges Paragraphs 1–71 as if fully set forth here.




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      73.    The First Amendment protects the public’s right of access to the records

of civil proceedings. “[T]he public possess[es] a qualified First Amendment right to

inspect docket sheets, which provide an index to the records of judicial proceedings.”

Hartford Courant Co. v. Pellegrino, 380 F.3d 83, 91 (2d Cir. 2004), as amended (Aug. 13,

2004). And qui tam complaints are judicial documents covered by the First Amendment.

Cf. Am. Civil Liberties Union v. Holder, 673 F.3d 245, 252 (4th Cir. 2011) (assuming

without deciding that public access to qui tam complaints is protected by the First

Amendment).

      74.    Under the False Claims Act, a qui tam complaint “shall be filed in camera,

shall remain under seal for at least 60 days, and shall not be served on the defendant

until the court so orders.” 31 U.S.C. § 3730(b)(2). The statute also provides: “The

Government may, for good cause shown, move the court for extensions of the time

during which the complaint remains under seal under paragraph (2).” 31 U.S.C.

§ 3730(b)(3). It further provides that “[a]ny such motions may be supported by

affidavits or other submissions in camera.” Id.

      75.    Restrictions on public access must be “narrowly tailored” to comply with

the First Amendment. In re Avandia Mktg., Sales Practices & Prods. Liab. Litig., 924 F.3d

662, 673 (3d Cir. 2019) (quoting Publicker Indus., Inc. v. Cohen, 733 F.2d 1059, 1073 (3d

Cir. 1984), as amended (May 29, 1984)). Where the government “attempts to deny the

right of access in order to inhibit the disclosure of sensitive information, it must be

shown that the denial is necessitated by a compelling governmental interest, and is

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narrowly tailored to serve that interest.” Globe Newspaper Co. v. Super. Ct. for Cty. of

Norfolk, 457 U.S. 596, 606–07 (1982).

      76.     Defendants’ practice of administratively terminating and sealing qui tam

actions indefinitely and without recurring judicial review of whether there is good cause

to do so is not narrowly tailored and therefore violates the First Amendment. Indeed,

it violates the FCA itself, the seal provision of which is narrowly tailored to provide for

a relatively short seal period and to require a judicial finding of good cause for any

extension. Cf. Holder, 673 F.3d at 255, 256 (upholding the FCA seal provision only

because it was narrowly tailored in that it requires courts to carefully weigh cause for

the seal and grant an extension only where good cause is shown).

                                      COUNT II
            Defendants’ Violations of the Common-Law Right to Access

      77.     Merit incorporates and realleges Paragraphs 1–76 as if fully set forth here.

      78.     The public possesses a common-law right to access judicial proceedings

and records. Publicker, 733 F.2d at 1070. The right broadly extends to all judicial

records. Avandia Mktg., 924 F.3d at 672.

      79.     The common-law presumption of openness may be rebutted only by a

showing that disclosure will work a clearly defined and serious injury to the party

seeking closure. Avandia Mktg., 924 F.3d at 673. Broad allegations of harm, without

specific examples or articulated reasoning, are insufficient to overcome this

presumption. Id.

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      80.      Defendants’ practice of administratively terminating and sealing qui tam

actions indefinitely and without recurring judicial review of whether there is good cause

to do so violates the public’s common-law right to access judicial records and

proceedings.

                               PRAYER FOR RELIEF
      Plaintiff respectfully requests that this Court:

      A.       Declare that the practice of “administratively terminating” and sealing qui

               tam actions indefinitely, and without any periodic reassessment and

               findings of good cause, violates the First Amendment and the common

               law.

      B.       Enjoin Defendants U.S. Department of Justice, William Barr, in his

               official capacity as Attorney General of the United States, and Department

               of Justice attorneys acting under his direction or authority from filing a

               motion, in any district court, to indefinitely seal, “administratively

               terminate,” or otherwise remove a sealed qui tam case from the active

               docket without recurring judicial review of whether good cause exists for

               continued sealing.

      C.       Enjoin Defendant the United States District Court for the District of New

               Jersey from entering orders that indefinitely seal, “administratively

               terminate,” or otherwise remove a sealed qui tam case from the active




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           docket without recurring judicial review of whether good cause exists for

           continued sealing.

     D.    As to each qui tam case in the District of New Jersey that has been

           “administratively terminated” and sealed indefinitely: (1) order that the

           case be returned to the active docket; (2) order that the docket entries be

           immediately unsealed, with only the names of the parties redacted; and

           (3) order that, if the government believes there is good cause to continue

           the seal, the government must, within 14 days, submit an affidavit,

           declaration, or certification, under oath, describing with particularity the

           good cause for continued seal of the case, including: (a) the nature of the

           materials or proceedings at issue; (b) the legitimate private or public

           interest that warrants the relief sought; (c) the clearly defined and serious

           injury that would result if the relief sought is not granted; (d) why a less

           restrictive alternative to the relief sought is not available; (e) any prior

           order sealing the same materials in the pending action; and (f) the identity

           of any party or nonparty known to be objecting to the sealing request.

           D.N.J. Local Rule 5.3(c)(3).

     E.    Order that (1) in cases where the government moves to extend the seal as

           described in paragraph D(3), the Court make a prompt determination

           whether good cause exists for the action to remain sealed; and (2) in cases



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            where the government does not move to extend the seal as described in

            paragraph D(3), the Court immediately unseal the action.

      F.    Order that, in any action in which the Court finds good cause for the

            action to remain sealed, any extension of the seal be for a finite period of

            time narrowly tailored to the good cause shown.

      G.    Award such other and further relief as the Court deems equitable and just.



Dated: May 28, 2020

                                                Respectfully submitted,

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                                                *Admission pro hac vice to be submitted




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